                      Case 1:21-cv-01773-TSC Document 12 Filed 02/01/22 Page 1 of 1
AO 458 (Rev. 06/09) Appearance of Counsel


                                     UNITED STATES DISTRICT COURT
                                                              for the
                                              District of Columbia
                                               __________     District of __________


                        Golce Gligorov                           )
                             Plaintiff                           )
                                v.                               )      Case No. 21-cv-1773
                   Nation of Brunei, et al.                      )
                            Defendant                            )

                                                 APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

         Defendants Dorcester Collection and Dorcester Group, LLC                                                        .


Date:          02/01/2022                                                               //s// Jason H. Ehrenberg
                                                                                            Attorney’s signature


                                                                                   Jason H. Ehrenberg / #469077
                                                                                        Printed name and bar number
                                                                            Ehrenberg Legal & Higher Ed Solutions PLLC
                                                                               5335 Wisconsin Ave, N.W., Suite 440
                                                                                     Washington, D.C. 20015

                                                                                                  Address

                                                                                       jasopn@ehrenberglegal.com
                                                                                              E-mail address

                                                                                             (202) 617-2590
                                                                                             Telephone number

                                                                                             (202) 217-4345
                                                                                               FAX number
